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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

PETER SCHATZBERG, D.C., et al. : CIVIL ACTION
Plaimiffs '
NO. 10-2900
v.
STATE FARM MU'I`UAL AUTOMOBILE :

INSURANCE COMPANY, et al.
Defendants

ORDER
AND NOW, this 30th day of October 2015, upon consideration of the joint motion of the
parties under Local Rule 5.].5, [ECF 333], and for good cause shown, it is hereby ORDERED
that the parties’ joint motion is GRANTED and all sealed filings in this matter relating to the
affidavit of J’Amy Kluender and her testimony With attached exhibits shall remain sealed for a
minimum of ten (10) years notwithstanding the two (2) year period contemplated by Local Rule
of Civil Procedure 5.l(b)(2) and (c), and the Clerk is directed to take no action under those

provisions until a date no earlier than ten (10) years from the docketing of this Order.

BY THE COURT:

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